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                      DISTRICT COURT OF THE VIRGIN ISLANDS
                              DIVISION OF ST. CROIX

UNITED STATES OF AMERICA                  )
                                          )
            v.                            )                 Criminal Action No. 2016-0009
                                          )
SERGIO QUINONES-DAVILA,                   )
                                          )
                  Defendant.              )
__________________________________________)

Attorneys:
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        For the Government

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        For Defendant

                                 MEMORANDUM OPINION

Lewis, Chief Judge

       THIS MATTER comes before the Court on Defendant Sergio Quinones-Davila’s “Motion

for Revocation of Detention Order,” pursuant to 18 U.S.C. § 3145(b) and the Due Process Clause

of the Fifth Amendment. (Dkt. No. 1070). For the reasons discussed below, the Court will deny

Defendant’s Motion.

                                  I.   BACKGROUND

       This case began with a Complaint filed on November 16, 2015 against four Defendants

charging conspiracy to possess a controlled substance with intent to distribute, and possession of

cocaine powder with intent to distribute. (Dkt. No. 1 in 2015-mj-0029). Defendant Sergio

Quinones-Davila (“Defendant” or “Quinones-Davila”) was not included as a Defendant in this

Complaint. On December 8, 2015, a separate Complaint was filed against Quinones-Davila and

five other Defendants (not named in the November 2015 Complaint), charging conspiracy to
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possess a controlled substance with intent to distribute. (Dkt. No. 1 in 2015-mj-0031). Defendant

was arrested in Florida on December 10, 2015, and has been detained since that time.1

       On December 29, 2015, the Government filed an Information charging Defendant and nine

co-Defendants with conspiracy, as well as possession of a controlled substance with intent to

distribute. (Dkt. No. 43 in 2015-cr-0042). A detention hearing took place on January 27 and 28,

2016 before Magistrate Judge George W. Cannon, Jr. The Government relied on its previously

filed Motion to Detain with an attached affidavit submitted by a special agent with the U.S. Drug

Enforcement Administration (“DEA”). (Dkt. Nos. 1-1 and 14 in 2015-mj-0031). Quinones-Davila

presented the testimony of his wife who offered to serve as a third-party custodian in Orlando,

Florida and a friend who offered to serve as a third-party custodian on St. Croix. (Dkt. No. 1070

at 2 in 2016-cr-0009).

       On January 29, 2016, Judge Cannon issued an Order of Detention. (Dkt. No. 121 in 2015-

cr-0042). In that Order, Judge Cannon summarized the information presented in the DEA agent’s

affidavit. The agent recounted that, in July 2014, DEA had started to investigate a drug trafficking

organization that was allegedly importing cocaine from Venezuela into the continental United

States through Puerto Rico and the U.S. Virgin Islands. Id. at 1. The affidavit described Quinones-

Davila as “one of the principals” in the drug trafficking organization, and described efforts by

Defendants to secure loads of cocaine from Venezuelan vessels on the open seas south of St. Croix,

as documented by a Confidential Source through recorded phone calls, recorded in-person

conversations, and text messages. Id. at 2-4.

       The Detention Order also summarized the testimony offered by Defendant’s wife, Ms.

Dinia Rodriguez, who stated she would undertake the responsibilities of a third-party custodian


1
 Quinones-Davila was initially arraigned in the Middle District of Florida on December 11, 2015,
and was transferred to the District of the Virgin Islands pursuant to Fed. R. Crim. P. 5(c)(3). (Dkt.
No. 22 in 15-mj-0031).
                                                  2
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and ensure Defendant’s appearance on St. Croix if Quinones-Davila was released and allowed to

return to their home in Orlando, Florida. Id. at 4. According to the Detention Order, Johnny

Rodriguez, Jr., a friend of Quinones-Davila who lives on St. Croix, testified that, if Quinones-

Davila was released in Florida, he would allow Quinones-Davila to stay with him when Quinones-

Davila was required to be on St. Croix, and that he would act as a third-party custodian when

Defendant was on St. Croix. Id. at 5.

       Magistrate Judge Cannon found that the evidence against Defendant was strong and that,

“[g]iven the nature of the charges, said Defendant’s level of participation in the alleged conspiracy,

and the possible sentence said [D]efendant faces if convicted [a ten-year minimum], . . . Defendant

[was] both a danger and a flight risk.” Id. at 7. Judge Cannon concluded that “no conditions exist

that would reasonably ensure the safety of the community and the appearance of said Defendant

as required,” and ordered him detained. Id.

       On May 10, 2016, Quinones-Davila and eleven co-Defendants were charged by

Indictment, inter alia, with Conspiracy to Possess a Controlled Substance with Intent to Distribute,

in violation of 21 U.S.C. §§ 841(a)(1) and 846. (Dkt. No. 1 in 2016-cr-0009). Quinones-Davila

and various other co-Defendants were also charged with Attempted Possession of Cocaine with

Intent to Distribute and Possession of Cocaine with Intent to Distribute. Id.2 A Superseding

Indictment was filed on August 23, 2016, charging Quinones-Davila and fourteen co-Defendants

with conspiracy to possess a controlled substance with intent to distribute (Count 1). (Dkt. No.

190). Quinones-Davila and various other co-Defendants were also charged with the related crimes

of attempted possession (Counts 3 and 6) and possession of cocaine (Count 7). Id. In May 2016,

the Government filed a motion to extend discovery deadlines by a month (Dkt. No. 81), and



2
 In addition, two Defendants were charged with Bulk Cash Smuggling, in violation of 31 U.S.C.
§ 5332(a)(1). (Dkt. No. 1).
                                              3
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Defendants filed numerous motions, including motions challenging detention (Dkt. Nos. 18, 23,

57, 64, 95, 131) and motions to suppress evidence (Dkt. Nos. 17, 180, 219, 220, 222, 347, 374).

One Defendant was arraigned in mid-September 2016 (Dkt. No. 260), and filed a motion to

continue the trial, which had been set for October 31, 2016. (Dkt. No. 296). The motion to continue

was granted. (Dkt. No. 299). At calendar call in October 2016, due to numerous pending motions

and in consultation with the parties, the Magistrate Judge set the trial date for April 2017. (Dkt.

No. 377). In early April 2017, trial was continued for one week, from April 25 to May 2, 2017, at

the Government’s request. (Dkt. No. 636).3 A final Defendant was arraigned on April 17, 2017.

(Dkt. No. 682). That Defendant moved to sever his case, which the Court granted on April 24,

2017. (Dkt. No. 718).

       The trial of six Defendants commenced on May 2, 2017 with jury selection, which lasted

until May 4, 2017. All counsel agreed on a break from trial on Friday, May 5, 2017, as well as

another break from trial the next week, May 8-12, 2017, to allow one of the defense counsel to

attend a personal engagement. Trial was scheduled to resume on Monday, May 15, 2017 with

opening statements. However, on that morning, the Government produced an extensive amount of

discovery. The Government gave its opening statement on May 15th, but the Court delayed

opening statements of the Defendants for a week in order to provide them with the opportunity to

review and process the late discovery. Defense opening statements took place on Monday, May

22, 2017, and the trial concluded with a hung jury on July 7, 2017.




3
  The Magistrate Judge found that a continuance of the trial date may facilitate plea negotiations
with the remaining Defendants and a continuance would allow the resolution of pending pretrial
motions that may impact trial. (Dkt. No. 636). The Magistrate Judge also accepted the
Government’s representation that five of the Defendants had no objection to the continuance, and
the one Defendant who objected did so on the ground that counsel was scheduled for trial in
another matter, but the trial in that other case had been continued. Id.
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         Quinones-Davila filed the instant Motion on July 27, 2017 (Dkt. No. 1070); the

Government filed a Response on August 3, 2017 (Dkt. No. 1090); and Quinones-Davila filed a

Reply on August 14, 2017 (Dkt. No. 1098). On September 1, 2017, the Court issued an Amended

Trial Management Order which scheduled the retrial of this matter for January 18, 2018. (Dkt. No.

1105).

         As a result of the extensive damage and destruction caused by Hurricane Maria on

September 19-20, 2017, the St. Croix Courthouse was closed. The Court issued two General

Orders continuing, inter alia, all criminal matters on St. Croix until November 27, 2017, and

excluding the time from September 5, 2017 through November 27, 2017 under the Speedy Trial

Act, pursuant to 18 U.S.C. § 3161(h)(7)(A). (Misc. Case No. 17-0011, Dkt. Nos. 1, 3). On October

25, 2017, the Government filed a “Motion to Extend TMO Deadlines” wherein it requested a three-

week extension of all deadlines for November and December 2017 contained in the Court’s

Amended Trial Management Order issued on September 1, 2017. (Dkt. No. 1112 in 2016-cr-0009).

All defense counsel concurred in the request. Id.4

         On November 2, 2017, Quinones-Davila filed a Motion to Continue Jury Selection and

Trial Date. (Dkt. No. 1117). Quinones-Davila explained that he had a number of pending requests

to the Court that had been delayed due to the hurricanes, including: a request to retain an expert

who, if approved, would need two months to review discovery and trial testimony; a request for a

trial transcript; and a request for payment of his interpreter. Id. Quinones-Davila asserted that he

would also need time to review the transcript from the first trial and to prepare witness

examinations and motions in limine prior to the second trial. As a result, the remaining two and

one-half months before the January 18, 2018 retrial was “no longer realistic to retry this


4
 The Government noted that it was unable to reach one of the defense counsel but, based on a
prior in-person conversation with him, the Government did not anticipate that any counsel would
object to the motion. (Dkt. No. 1112). No objection was, in fact, lodged.
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complicated, multi-defendant matter.” Id. at 2. He asked that a new date be determined at the next

calendar call. Id. Quinones-Davila’s Motion to Continue was granted. (Dkt. No. 1119). After

meeting with counsel at calendar call on November 15, 2017, Magistrate Judge Cannon scheduled

the retrial for April 16, 2018. (Dkt. No. 1131).

       On November 20, 2017, Quinones-Davila filed a “Motion for Hearing on Motion to

Revoke Detention Order [Doc. No. 1098],” observing, inter alia, that he has been in custody just

shy of twenty-two months, and the trial was now scheduled for April 16, 2018, resulting in an

additional five months of pretrial detention. (Dkt. No. 1135).

       The Court has determined that the written record is a sufficient basis upon which to render

its ruling and therefore a hearing is unnecessary. Based on that record, Defendant’s Motion will

be denied.

                                           II. DISCUSSION

    A. The Parties’ Arguments

       In the instant Motion, Defendant argues for revocation of his Detention Order “pursuant to

18 U.S.C. § 3145(b) and the Due Process Clause of the Fifth Amendment.” (Dkt. No. 1070 at 1).

The basis for Quinones-Davila’s motion is the alleged violation of his due process rights that have

resulted from his continued detention.5


5
  Title 18 of the U.S. Code, Section 3145(b), provides that if a person is ordered detained by a
magistrate judge, that person may file a motion for revocation or amendment of the detention order.
Quinones-Davila cites 18 U.S.C. § 3145(b) and mentions revocation of detention in passing as the
statutory authority for his relief. He also notes that the district court exercises de novo review over
a magistrate judge’s detention order. However, the entirety of Defendant’s argument focuses on
how his continued detention violates his due process rights. He applies a due process standard,
rather than arguing that, under a de novo review, the Magistrate Judge erred in his detention
determination. See United States v. Hofstetter, 2017 WL 4079181, at *5 (E.D. Tenn. Sept. 14,
2017) (agreeing with defendant that “a due process violation provides a constitutional basis for the
Court to reconsider its detention order that is separate from the question of whether a detention
hearing may be reopened under the Bail Reform Act.”). Defendant’s due process approach is
underscored by the fact that he did not provide a transcript of the detention hearing, as required by
LRCi 72.2(a) governing review of a magistrate judge’s order. The Court will therefore evaluate
                                                    6
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        Using a standard for due process challenges to continued detention culled from United

States v. Cos, 2006 WL 4061168 (D.N.M. Nov. 15, 2006) and United States v. Ailemen, 165 F.R.D.

571 (N.D. Cal. 1996), Quinones-Davila argues that the nineteen-month detention from the point

of his arrest to the filing of the instant Motion, plus the number of additional months that will pass

before the retrial, weigh in favor of finding a due process violation warranting his release; the

Government bears some responsibility for the length of the pretrial delay, which also weighs in

Defendant’s favor; and there is no evidence that Quinones-Davila is a danger to the community.

(Dkt. No. 1070). As a result, Quinones-Davila contends that stringent conditions of release, such

as home confinement, use of third-party custodians, and bail should strike an appropriate balance

between Defendant’s liberty interests and the Government’s interests in protecting society and

ensuring that he appears for trial. Id. at 5-9.

        In its Response, the Government states that the Magistrate Judge properly ordered

detention. (Dkt. No. 1090 at 7). Citing the due process standard related to continued detention,

articulated by the Third Circuit in United States v. Accetturo, 783 F.2d 382, 388 (3d Cir. 1988),

the Government asserts that: (1) the charges against Defendant are serious; (2) Defendant remains

a flight risk, as he has only minimal family ties to the Virgin Islands and is associated with boat

captains, which presents a risk he could relocate to foreign countries; (3) he faces a 24-30 year

sentence, if convicted, which also creates a risk of flight; (4) the nature of the offenses is indicative

of danger to the community, and release would facilitate any intention he might have to continue

drug trafficking activities; (5) the Government’s case is strong on the merits; (6) Quinones-



Quinones-Davila’s arguments under the due process standard which, in any event, incorporates
some of the elements a court assesses when considering a statutory motion for revocation of a
detention order—such as the seriousness of the charges; whether the defendant presents a risk of
flight or danger to the community; and the strength of the case against the defendant. See United
States v. Accetturo, 783 F.2d 382, 388 (3d Cir. 1988).

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Davila’s detention is not unfairly long under the circumstances; (6) the case is complex; and (7)

no strategic maneuvers by the Government added to the complexity of the case or delay. Id. at 8-

14.

         In his Reply, Quinones-Davila argues that the Government “continues to rely on the

rebuttable presumption that no condition or combination of conditions of release will reasonably

assure the safety of the Virgin Islands community or Quinones-Davila’s appearance at trial without

offering any actual or additional evidence” to support his continued detention. (Dkt. No. 1098 at

1).

      B. Due Process Detention Standard

         The Due Process Clause of the Fifth Amendment of the United States Constitution provides

that “[n]o person shall . . . be deprived of life, liberty, or property, without due process of law.”

U.S. Const. amend V. Congress has made the Fifth Amendment applicable to the Virgin Islands

pursuant to section 3 of the Revised Organic Act of 1954, 48 U.S.C. § 1561.

         The Supreme Court has concluded that the Government may detain a defendant prior to

trial consistent with the Due Process Clause as long as that confinement does not amount to

“punishment of the detainee.” Bell v. Wolfish, 441 U.S. 520, 535 (1979). In United States v.

Salerno, 481 U.S. 739 (1987), the Supreme Court explored due process concerns related to pretrial

detention. The Court noted that it had “repeatedly held that the Government's regulatory interest

in community safety can, in appropriate circumstances, outweigh an individual's liberty interest,”

id. at 748, which “may, in circumstances where the government’s interest is sufficiently weighty,

be subordinated to the greater needs of society.” Id. at 750-51. The Court observed that “the mere

fact that a person is detained does not inexorably lead to the conclusion that the government has

imposed punishment,” Id. at 746, and further referenced Congress’ finding that persons arrested

for extremely serious offenses “are far more likely to be responsible for dangerous acts in the

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community after arrest.” Id. at 750. The Court in Salerno, however, “intimate[d] no view as to the

point at which detention in a particular case might become excessively prolonged, and therefore

punitive, in relation to Congress’ regulatory goal [set forth in the Bail Reform Act].” Id. at 747

n.4.

       In Accetturo, the Third Circuit generally described factors a court should consider when

assessing whether a defendant’s due process rights require the defendant to be released from

pretrial detention. The Court opined:

       Thus, a determination under the Bail Reform Act that detention is necessary is
       without prejudice to a defendant petitioning for release at a subsequent time on due
       process grounds. Because due process is a flexible concept, arbitrary lines should
       not be drawn regarding precisely when defendants adjudged to be flight risks or
       dangers to the community should be released pending trial. Instead, we believe that
       due process judgments should be made on the facts of individual cases, and should
       reflect the factors relevant in the initial detention decision, such as [1] the
       seriousness of the charges, [2] the strength of the government’s proof that defendant
       poses a risk of flight or a danger to the community, and [3] the strength of the
       government’s case on the merits. Moreover, these judgments should reflect such
       additional factors as [4] the length of the detention that has in fact occurred, [5] the
       complexity of the case, and [6] whether the strategy of one side or the other has
       added needlessly to that complexity.

Accetturo, 783 F.2d at 388.

       As noted above, in its Response to Quinones-Davila’s Motion, the Government applied the

Accetturo factors in arguing that Defendant’s due process rights are not violated by his continued

detention. Quinones-Davila, on the other hand, applied the factors enunciated in Cos (Dkt. No.

1070 at 5)6 and those enunciated in Ailemen. Id. at 8.7 While these three sets of factors overlap to



6
  The factors set forth in Cos are: “(i) the length of confinement and any non-speculative expected
confinement; (ii) the government’s responsibility for delays in the proceedings; and (iii) the
strength of evidence supporting detention.” Cos, 2006 WL 4061168, at *3 (citing United States v.
Millan, 4 F.3d 1038, 1043 (2d Cir. 1993)).
7
  The factors set forth in Ailemen are: “(1) protecting the integrity of the trial process (by, for
example, preventing a defendant from attempting to intimidate witnesses, jurors, or others
involved in the prosecution), (2) preventing danger to the community, and (3) assuring that the
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some extent, the Court will apply the governing law in the Third Circuit, as articulated in

Accetturo.

   C. Analysis

       1. Seriousness of the Charges

       Quinones-Davila is charged in the Superseding Indictment with Conspiracy to Possess a

Controlled Substance with Intent to Distribute, in violation of 21 U.S.C. §§ 841(a)(1),

841(b)(1)(A)(ii), and 846; Attempted Possession of Cocaine with Intent to Distribute, in violation

of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A)(ii), and 846; and Possession of Cocaine with Intent to

Distribute, in violation of 21 U.S.C. § 841(a)(1) and 841(b)(1)(A)(ii). (Dkt. No. 190). Each of these

charges carries a statutory ten-year minimum sentence, with a maximum term of life

imprisonment. Moreover, the Government charges that the alleged drug trafficking organization

of which Quinones-Davila allegedly was a leader, was involved in the importation or attempted

importation of at least 273 kilograms of cocaine from August 2014 through November 2015. The

Court finds that these charges are serious and, consequently, this Accetturo factor weighs against

this Court finding a due process violation in Quinones-Davila’s continued detention. See United

States v. Berry, 2009 WL 3254449, at *6 (D.V.I. Oct. 9, 2009) (finding that conspiracy to possess

crack cocaine and cocaine powder with intent to distribute, and possession of crack cocaine and

cocaine powder with intent to distribute, constituted “serious charges” under Accetturo).

       2. Strength of Government’s Proof Concerning Risk of Flight and Danger to the
          Community

       The Accetturo factor—the strength of the Government’s proof concerning risk of flight and

danger to the community—echoes the factors the Magistrate Judge considered pursuant to 18

U.S.C. § 3142(g) when ordering Quinones-Davila detained in the first instance. In justifying


defendant is present for trial and, if convicted, for sentencing (the risk of flight factor).” Ailemen,
165 F.R.D. at 595-96.
                                                   10
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detention, Magistrate Judge Cannon found that no condition or combination of conditions would

reasonably assure Quinones-Davila’s appearance and the safety of the community, given the

strength of the evidence, the nature of the charges, the level of participation in the alleged

conspiracy, and the possible sentence he faced if convicted. (Dkt. No. 121 in 2015-cr-0042). In so

finding, the Magistrate Judge noted that Quinones-Davila “has no residence or close family in or

other ties to St. Croix.” Id. at 6. He also noted that Quinones-Davila had been charged with

conspiracy to possess cocaine with intent to distribute—“an offense for which a maximum term of

imprisonment of ten years or more is prescribed in the Controlled Substances Act (21 U.S.C. §

801 et seq.)[,]” pursuant to 18 U.S.C. § 3142(f)(1)(C). Id.

       Although not explicitly stated in the Detention Order, the drug conspiracy charge would

trigger the rebuttable presumption that no condition or combination of conditions would

reasonably assure Quinones-Davila’s appearance and the safety of the community under 18 U.S.C.

§ 3142(e)(3)(A). See, e.g., United States v. Williams, 903 F. Supp. 2d 292, 294 (M.D. Pa. 2012).

Once that presumption arises, “the burden shifts to [the defendant] to produce some credible

evidence that he will appear and will not present a threat to the community.” United States v.

Oliver, 2016 WL 1746853, at *5 (W.D. Pa. May 3, 2016) (citing United States v. Carbone, 793

F.2d 559, 560 (3d Cir. 1986)). Quinones-Davila did not rebut the presumption at the hearing before

the Magistrate Judge, nor does he do so now.

       At this juncture, the Court has the benefit of evaluating the parties’ current arguments

against the backdrop of an extensive trial record. In the instant Motion, Quinones-Davila analyzes

the analogous factor articulated in Ailemen, 165 F.R.D. at 595-96 (see supra, n.6). He argues that

       there is no evidence Quinones-Davila threatened witnesses, jurors or even has any
       propensity to violence. In fact, Quinones-Davila’s family has stood by him
       throughout this case with his wife attending every day of the nine (9) week trial.
       Stringent conditions of release, such as home confinement, third-party custodians,
       and bail guaranteed by people close to Quinones-Davila should strike an

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       appropriate balance between Quinones-Davila’s liberty interests and the
       Government’s regulatory interests.

(Dkt. No. 1070 at 8). This was the extent of Defendant’s argument concerning both dangerousness

to the community and risk of flight. Id.

       The fact that Quinones-Davila’s wife stood by him during trial does not shed any light on

his possible dangerousness to the community, and Quinones-Davila provides no authority as to

why this fact should be relevant in the Court’s assessment in the context of a possible due process

challenge to his continued detention. In addition, the fact that there is no evidence that Quinones-

Davila threatened witnesses or jurors, or had a “propensity to violence” is not, by itself, dispositive

of the danger to the community inquiry. In United States v. Strong, 775 F.2d 504 (3d Cir. 1985),

the Third Circuit found that the statutory language and legislative history of § 3142(b)

“unequivocally establishe[d] that Congress intended to equate traffic in drugs with a danger to the

community.” Id. at 506; see id. at 507 (opining that the statute made an “explicit equation of a drug

offense with danger to the safety of the community for purposes of release or detention of a

defendant pending trial[.]”); United States v. Perry, 788 F.2d 100, 109, 113 (3d Cir. 1986)

(considering pretrial detention imposed for the “safety of the community” to be essentially civil

commitment, and holding that substantive due process is not violated by detaining “persons found

to be dangerous in a very real sense” including “distributors of dangerous drugs”); United States

v. Morales, 2011 WL 3651355, at *3 (E.D. Tex. Aug. 19, 2011) (“The very nature of drug offenses

constitutes a danger to the community which may justify pretrial detention”); Ailemen, 165 F.R.D.

at 596 (“We begin with a clear recognition that trafficking in illegal narcotics [including cocaine]

. . . without more, causes serious harm to society. A drug trafficker is, by legal definition, a danger

to the community.”).

       In this regard, courts are attentive to the possibility of whether a defendant might continue

drug trafficking activities if released to the community. See United States v. Gibson, 481 F. Supp.
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2d 419, 423 (W.D. Pa. 2007) (when determining whether to detain defendant “the court must, in

essence, make a prediction as to whether defendant is likely to traffic in illicit drugs if released

pending trial”) (citing Perry, 788 F.2d at 114-15 (“the dangerousness determination involves a

prediction of the detainee's likely future behavior.”)). The Government points out that Quinones-

Davila has shown that he has a propensity to continue drug trafficking because, although some of

his co-Defendants had already been arrested on November 13, 2015—which presumably would

have signaled that the activities of the alleged drug trafficking organization were known to law

enforcement—Defendant nevertheless allegedly continued to engage in drug trafficking, as

confirmed by his statement to law enforcement agents when he was arrested in December 2015.

At that time, Quinones-Davila allegedly admitted that he was in the process of arranging another

cocaine deal. Such brazen conduct, notwithstanding Defendant’s knowledge of law enforcement

activity focused on a drug trafficking organization of which Defendant allegedly was a part,

suggests that Quinones-Davila may have a predilection to engage in drug trafficking if released

from detention.

       In sum, for purposes of assessing the danger to the community factor, Quinones-Davila’s

argument that he has no propensity for violence and that his family has stood by him through trial

does not overcome the danger that drug trafficking is to the community and the likelihood that

Quinones-Davila will engage in such activities if released.8



8
  In his Reply, Quinones-Davila contends that “the Government continues to rely on the rebuttable
presumption that no condition or combination of conditions of release will reasonably assure the
safety of the Virgin Islands community or Quinones-Davila’s appearance at trial without offering
any actual or additional evidence to support the continued detention of Quinones-Davila.” (Dkt.
No. 1098 at 1). This presumption has remained extant since the detention hearing because
Quinones-Davila did not rebut it then, nor has he provided any argument or evidence through his
current Motion—even with the benefit of material from an eight-week trial—to rebut it now or tip
this Accetturo factor in his favor. By contrast, and contrary to Defendant’s contention, the
Government has pointed to evidence that Quinones-Davila allegedly admitted to continuing drug
trafficking activities even after some of his co-Defendants were arrested.
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       With regard to the risk of flight prong, the Government observes that Quinones-Davila is

associated with boat captains and thus “a risk exists that he can utilize their services to relocate to

foreign countries if released in the Virgin Islands or Florida.” (Dkt. No. 1090 at 9). The Court finds

this to be a compelling consideration when assessing the Accetturo risk of flight factor and the

evidence presented at trial, as these alleged contacts provide a relatively easy and hard to detect

means to flee—not only from the Virgin Islands (to which Quinones-Davila has minimal ties) but

from the continental United States as well.

       Further, Defendant poses a risk of flight because of the serious nature of the offenses with

which he is charged and the severity of the penalties he faces if convicted: a guideline sentence of

twenty-four to thirty years. See United States v. Wrensford, 2012 WL 6028628, at *7 (.V.I. Dec.

4, 2012) (finding risk of flight due to serious nature of offenses charged and severity of penalties

if convicted); United States v. Thomas, 2009 WL 2996532, at *3 (D.V.I. Sept. 16, 2009)

(“Although [the] [d]efendants have ties to the jurisdiction and have offered third-party custodians,

the Court takes into consideration the fact that [the] [d]efendants face a significant period of

incarceration if convicted. Community ties and third party custody is not sufficient to assure [the]

[d]efendants’ appearance for trial. . . .”) (citing cases); United States v. Stein, 2005 WL 3071272,

at *7 (S.D.N.Y. Nov. 15, 2005) (“[T]he defendant has a substantial motive to flee given the severity

of the sentence he may face in the event of conviction.”); United States v. Caraballo, 47 F. Supp.

2d 190, 192 (D.P.R. 1999) (noting that “defendant is a ‘risk of flight’ because defendant potentially

faces a life sentence and the risk of flight increases as the severity of [the] potential sentence

increases”).

       These considerations, together with the evidence presented at trial as to Quinones-Davila’s

alleged behind-the-scenes orchestration of events in the Virgin Islands from his location in Florida,



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convince the Court that Quinones-Davila’s proffered home confinement, third-party custodians

and bail are insufficient to reasonably assure his appearance at trial.

       In view of the foregoing, the Court finds that the danger to the community and risk of flight

Accetturo factors weigh against the Court finding a due process violation in Quinones-Davila’s

continued detention.

       3. Strength of the Government’s Case on the Merits

       Based on the evidence presented at trial, the Court finds that the strength of the

Government’s case on the merits weighs against a due process violation. The confidential source,

Timothy Schoenbohm, testified, inter alia, that co-Defendant, Jose Hodge, arranged to use

Schoenbohm’s boat for a mid-sea retrieval of thirty-five kilograms of cocaine in August 2014,

which Hodge stated was for Quinones-Davila. Hodge and Schoenbohm brought the cocaine to

Shoenbohm’s apartment where Hodge told Schoenbohm to take a photo of the drugs and send it

to Quinones-Davila. Hodge also referred to Quinones-Davila as “the boss.” A week after retrieving

the shipment, Quinones-Davila met Schoenbohm on St. Croix and told him “great job” in reference

to the thirty-five kilogram mid-sea retrieval. Schoenbohm further testified that in October 2014,

after discussing another cocaine retrieval with Hodge, Quinones-Davila sent Schoenbohm the mid-

sea coordinates for retrieval of seventy-one kilograms of cocaine. The cocaine was brought to

Hodge’s house and, at Quinones-Davila’s instructions, another co-Defendant picked up the drugs

and flew them to Puerto Rico. Schoenbohm also testified that, in November 2014, he spoke with

Quinones-Davila following an unsuccessful attempt with Hodge to retrieve eighty kilograms of

cocaine at sea, and Quinones-Davila explained that the boat bringing the cocaine had broken down.

In addition, Schoenbohm testified that, in November 2015, Quinones-Davila contacted him to

determine how much money he needed for fuel for his boat, and told Schoenbohm not to go

anywhere and to be ready. Schoenbohm then received money for gas via Western Union and met

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a crew of co-Defendants who had traveled to St. Croix to effect another mid-sea drug retrieval for

Quinones-Davila. In addition to Schoenbaum’s testimony, the Government introduced audio

recordings of conversations allegedly between Schoenbaum and Quinones-Davila regarding

various details of the drug transactions. Finally, Quinones-Davila also allegedly discussed his

involvement in drug trafficking with the DEA agent who arrested him, according to the agent who

testified.

        In view of the foregoing, the Court concludes that the Government presented substantial

evidence of Quinones-Davila as a key organizer of cocaine retrievals or attempted retrievals in

August 2014, October 2014, November 2014 and November 2015. Accordingly, the strength of

the Government’s case factor weighs in favor of continued detention.

        4. The Length of Detention

        Quinones-Davila has been incarcerated since December 10, 2015. He was detained for

almost seventeen months prior to his first trial, which began on May 2, 2017, and will have been

detained for twenty-eight months by the time the retrial begins in April 2018.

        In United States v. Orena, 986 F.2d 628 (2d Cir. 1993), the Second Circuit observed that

“the length of a detention period will rarely by itself offend due process.” Id. at 631; see also

Millan, 4 F.3d at 1044 (“A prospective detention period of the length at issue here [twenty-four

months] while weighing in favor of release, does not, standing alone, establish that pretrial

confinement has exceeded constitutional limits.”). After consideration of the relevant factors under

the circumstances presented, courts have found pretrial detention periods as long as forty-one

months, United States v. Casas, 425 F.3d 23, 34 (1st Cir. 2005), thirty to thirty-three months,

United States v. El-Hage, 213 F.3d 74, 79 (2d Cir. 2000), and thirty-two months, United States v.

Melendez-Carrion, 820 F.2d 56, 60-61 (2d Cir. 1987), to be constitutional.



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         While the Court considers Quinones-Davila’s twenty-eight month detention period until

the start of the retrial as weighing in favor of release, the Court does not find that the length of that

detention, by itself, offends due process. This is particularly so when this factor is considered in

conjunction with the next two Accetturo factors—the complexity of the case and whether one side

added needlessly to that complexity—both of which shed some light on the reasons for the delay.

         5. Complexity of the Case

         On December 8, 2015, Quinones-Davila and four other co-Defendants were charged in a

one-count Complaint with conspiracy to possess a controlled substance with intent to distribute.

(Dkt. No. 1 in 2015-mj-0031). The case grew in terms of number of Defendants and charges. On

December 29, 2015, the Government filed an Information, charging Quinones-Davila and nine co-

Defendants with conspiracy and possession with intent to distribute cocaine. (Dkt. No. 43 in 2015-

cr-0042). In the seven-count Indictment alleging nine separate overt acts, filed on May 10, 2016,

the Government charged Quinones-Davila and eleven co-Defendants with conspiracy, and further

charged Defendant and/or various of the other eleven co-Defendants with possession and

attempted possession with intent to distribute cocaine. (Dkt. No. 1 in 2016-cr-0009).9 Finally, in

the seven-count Superseding Indictment, filed in August 2016, the Government charged Quinones-

Davila and/or various of the other fourteen co-Defendants with the same charges and overt acts.

(Dkt. No. 190).

         During the course of the case, Defendants filed numerous pretrial motions, including

motions challenging detention (Dkt. Nos. 23, 57, 64, 95); motions to suppress (Dkt. Nos. 17, 180,

219, 220, 222, 347, 374); motions to compel (Dkt. Nos. 31, 32, 218, 221, 779); motions to

reconsider detention (Dkt. Nos. 18, 23); motions to release Defendants from detention or stay

detention hearings (Dkt. Nos. 57, 64, 96); motions to sever (Dkt. Nos. 459, 711); a motion to


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    As indicated above, two Defendants were also charged with bulk cash smuggling. (Dkt. No. 1).
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change venue (Dkt. No. 236); and a motion to dismiss (Dkt. No. 240). These motions necessitated

evidentiary and other hearings and required the issuance of a number of Memorandum Opinions

(see, e.g., Dkt. Nos. 104, 107 in 2015-cr-0042; Dkt. Nos. 259, 434, 507, 880, 883 in 2016-cr-0009),

Orders, and oral rulings before trial could proceed. Also during the course of the case, some

Defendants were taking pleas and being sentenced even as one Defendant (who went to trial) was

arraigned as late as mid-September 2016 (Dkt. No. 261) and another, who moved to sever, was

arraigned on April 17, 2017. (Dkt. No. 711).10 Six Defendants proceeded to trial in May 2017. The

Government produced approximately 40 audio recordings and over 1,000 pages of discovery.

          All of these facts have contributed to the complexity of this case. See Berry, 2009 WL

3254449, at *8 (considering multi-defendant case with voluminous discovery as inherently

complex); cf. United States v. Bryant, 2006 WL 482430, at *1 (W.D. Va. Feb. 27, 2006) (noting

“unusual complexity of the case” involving twenty co-defendants). Quinones-Davila himself

characterized this case as a “complicated, multi-defendant matter” in his Motion to Continue the

January 18, 2018 trial date. (Dkt. No. 1117 at 2). Given this backdrop, the Court finds that this

Accetturo factor weighs against a due process violation.

          6. Whether One Side Added Needlessly to the Complexity

          The final Accetturo factor is “whether the strategy of one side or the other added needlessly

to the complexity of the case.” Accetturo, 783 F.2d at 388. Case law in the Third Circuit follows

Accetturo, in assessing the actions of both parties to determine if either party bears responsibility

for “needless[ ]” delay in going to trial. See United States v. Harris, 2011 WL 1660573, at *6

(W.D. Pa. May 3, 2011), Berry, 2009 WL 3254449, at *8-9.11


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     In addition, one Defendant remains at large. (Dkt. No. 1140).
11
  Some cases outside this Circuit focus on whether the delay of the trial is attributable to the
Government. See, e.g., Millan, 4 F.3d at 1043 and United States v. Gonzalez-Claudio, 806 F.2d
334, 341 (2d Cir. 1986). Quinones-Davila posits that “[s]o long as the Government has some
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       Quinones-Davila argues that there have been “several delays throughout the course of this

matter, many of which are attributable to the Government.” (Dkt. No. 1070 at 3). Quinones-Davila

points to the Government not providing its first round of discovery until January 27, 2016, although

it was due on January 21, 2016, and continuing to provide voluminous supplemental discovery up

to and including trial, which caused the trial to be pushed back to a later date and caused a week-

long break after trial began.

       It is true that the Government was responsible for a six-day delay in proffering the first

round of discovery (due January 21, 2016 and served January 27, 2016) and that it moved in May

2016 to extend the discovery deadline for a month (Dkt. No. 81). The Government’s chronic delay

in producing discovery was also responsible for a one-week delay in beginning trial testimony.

Although the Court does not sanction any of the delays occasioned by the Government, the Court

cannot conclude that the particular instances cited by Quinones-Davila tip this Accetturo factor in

favor of finding a due process violation.

       As the Court outlined above in describing the complexity of the case, most of the time that

elapsed prior to the first trial was devoted to the resolution of numerous motions during the course

of the litigation. In addition, the case began with four Defendants and two counts, and expanded

to fifteen Defendants and seven counts, where Defendants were at different stages of progress in

their cases. For example, at the time that Defendant Hodge filed a Motion to Suppress in August

2016 (Dkt. No. 180), the arrest warrants for Defendants Felix Melendez-Colon and Omy


responsibility for a portion of the delay” resulting from his pretrial detention, this factor weighs in
his favor. (Dkt. No. 1070 at 7). However, the case law he cites for this proposition, Gonzalez-
Claudio, provides that the Government must bear “significant responsibility for the duration of
[pretrial] detention,” 806 F.2d at 341, and that “[i]t suffices for present purposes to conclude that
the Government, even if not deserving of blame, bears a responsibility for a portion of the delay
significant enough to add considerable weight to the defendants' claim that the duration of
detention has exceeded constitutional limits.” Id. at 342-43 (emphasis added). Accetturo does not
frame this element in the same way. Once again, the Court will follow the precedent established
in Accetturo in examining this factor.
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Gutierrez-Calderon (Dkt. Nos. 191, 192) had not yet been issued. Gutierrez-Calderon was

arraigned in September 2016 and Melendez-Colon was arraigned in April 2017. Due to the

September 2016 entry into the case of Gutierrez-Calderon, his counsel moved to continue the

October 2016 trial (Dkt. No. 296), which was then rescheduled from October 31, 2016 to April

2017. (Dkt. Nos. 299, 377). Following the mistrial, Quinones-Davila’s counsel filed the last motion

to continue the trial of this “complicated multi-defendant matter” (Dkt. No. 1117 at 2) from its

previously-scheduled January 2018 date (Dkt. No. 1118), and the trial was moved three months to

April 2018. The anticipated length of the trial—which the parties estimate to last from six weeks

(Dkt. No. 1113) to eight to ten weeks (Dkt. No. 1120)—also creates challenges in attempting to

schedule it on the Court’s calendar.

       Quinones-Davila’s faults the Government for filing “a new and separate indictment” in

May 2016, less than a month before trial had been scheduled to begin, thereby creating a new case

and allegedly causing cancellation of the June 2016 trial. (Dkt. No. 1070 at 3). Similar to the

conclusion reached by the District Court in United States v. Bryant, this Court “can make no

finding that the Government’s ‘responsibility’ for the time between indictments evinces a punitive

intent, because there is no evidence of record that the Government could or should have delayed

filing the initial indictment or obtained the superseding indictment sooner.” United States v.

Bryant, 2006 WL 482430, at *5 (W.D. Va. Feb. 27, 2006). Moreover, the record does not show

that the May 2016 filing of the Indictment “caus[ed] cancellation of the jury trial scheduled for

June 6, 2016,” as asserted by Quinones-Davila, since between May and June, 2016, counsel for

the new Defendants was being appointed, and Defendants were, inter alia, seeking discovery,

engaged in detention hearings, and seeking reconsideration of detention orders.

       Finally, the mistrial was “wholly beyond the control of the parties or the Court.” See

Bryant, 2006 WL 482430, at *5. Then, Quinones-Davila himself filed a motion to continue the

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retrial from its January 2018 date, stating that he needed additional time to file pretrial motions.

(Dkt. No. 1117). Thus, the time from January 2018 to the rescheduled April 2018 trial date is his

responsibility.

       In sum, this Accetturo factor also weighs against the Court finding that Quinones-Davila’s

continued detention violates due process.

   D. Hearing

       In view of the briefing provided by the parties and the abundance of record evidence, the

Court finds that a hearing is not necessary to resolve the Motion for Revocation of the Detention

Order. Accordingly, Quinones-Davila’s request for a hearing will be denied.

                                        III. CONCLUSION

       For the foregoing reasons, the Court finds that the Accetturo factors weigh in favor of

finding that Quinones-Davila’s continued detention does not violate his due process rights.

Accordingly, the Court will deny Quinones-Davila’s Motion for Revocation of the Detention

Order. (Dkt. No. 1070). The Court also finds that a hearing is not necessary to resolve the Motion

and therefore Quinones-Davila’s request for a hearing (Dkt. No. 1135) will be denied.

       An appropriate Order accompanies this Memorandum Opinion.

Date: February 10, 2018                                      _______/s/_______
                                                             WILMA A. LEWIS
                                                             Chief Judge




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